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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
FRANCISCO TUY XEP, on behalf of himself and all :
others similarly situated,                                             :
                                                                       :
                                      Plaintiff,                       :
                                                                       :
                   -against-                                           :   COLLECTIVE ACTION
                                                                       :      COMPLAINT
DE HOOP CORP. d/b/a KAIA WINE BAR and                                  :
SUZAAN HAUPTFLEISCH,                                                   :
                                                                       :
                                      Defendants.                      :
---------------------------------------------------------------------- X

        Plaintiff Francisco Tuy Xep (“Plaintiff” or “Tuy Xep”), on behalf of himself and all

others similarly situated, by his attorneys Pechman Law Group PLLC, complaining of

Defendants De Hoop Corp. d/b/a Kaia Wine Bar and Suzaan Hauptfleisch (collectively,

“Defendants”), alleges:

                                    NATURE OF THE COMPLAINT

        1.       Tuy Xep worked as a dishwasher, waiter, and bartender at Kaia Wine Bar,

an Upper East Side restaurant, for two and a half years. Throughout his employment,

Defendants failed to compensate Tuy Xep at the statutorily required minimum wage rate

or at 1.5 times the applicable regular hourly rate for hours worked over forty per

workweek. Moreover, Defendants forced Tuy Xep and other waiters or bartenders to

work for just tips. Defendants further failed to pay Tuy Xep spread-of-hours pay when

his workday spread across more than ten hours and failed to provide him with statutorily

required wage notices and accurate weekly wage statements.

        2.       Tuy Xep brings this action on behalf of himself and all other similarly

situated waiters and bartenders employed by Defendants (“Tipped Workers”) to recover

unpaid minimum and overtime wages, spread-of-hours pay, liquidated damages,
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statutory damages, pre- and post-judgment interest, and attorneys’ fees and costs

pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), Articles 6 and

19 of the New York Labor Law (“NYLL”), and the New York Wage Theft Prevention Act

(“WTPA”).

                                    JURISDICTION

      3.     This Court has subject matter jurisdiction over this case pursuant to 29

U.S.C. § 216(b), 28 U.S.C. §§ 1331 and 1337, and it has supplemental jurisdiction over

Plaintiff’s NYLL claims pursuant to 28 U.S.C. § 1367.

                                        VENUE

      4.     Venue is proper in the Southern District of New York under 28 U.S.C. § 1391

because Kaia Wine Bar is located and operated by Defendants in the Southern District of

New York and the acts and omissions giving rise to Plaintiff’s claims occurred in the

Southern District of New York.

                                     THE PARTIES

Plaintiff Francisco Tuy Xep

      5.     Tuy Xep resides in Queens County, New York.

      6.     Defendants employed Tuy Xep from approximately April 2019 through

November 21, 2022.

Defendant De Hoop Corp. d/b/a Kaia Wine Bar

      7.     Defendant De Hoop Corp. d/b/a Kaia Wine Bar (“Kaia”) is a New York

corporation that owns and operates a restaurant and bar located at 1614 3rd Avenue, New

York, New York 10128.

      8.     In an article published on October 15, 2021, The New Yorker magazine

described Kaia as “The City’s Only South African Restaurant and Bar,” which supplied

New Yorkers with “7.2 million dollars’ worth of South African wine” during its eleven


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years of existence. See https://www.newyorker.com/magazine/2021/10/25/the-citys-

only-south-african-restaurant-and-bar (last accessed December 30, 2022).

        9.     Kaia is an “enterprise engaged in commerce” within the meaning of the

FLSA.

        10.    Kaia has employees engaged in commerce or in the production of goods for

commerce and handling, selling, or otherwise working on goods or materials that have

been moved in or produced for commerce by any person.

        11.    In the three years preceding the filing of this Complaint, Kaia has had an

annual gross volume of sales in excess of $500,000.

        12.    In 2019, Defendants employed at least eleven employees at Kaia.

Defendant Suzaan Hauptfleisch

        13.    Defendant Suzaan Hauptfleisch is an owner of Kaia.

        14.    Hauptfleisch is identified as the Chief Executive Officer of Kaia on New

York State’s Division of Corporations entity filings website.

        15.    Throughout Tuy Xep’s employment, Hauptfleisch held and exercised

authority over personnel decisions at Kaia, including the authority to hire and fire

employees, set employee wage rates, assign employees duties, and maintain employee

pay records.

        16.    For example, Hauptfleisch hired and fired Tuy Xep, set his work schedule,

assigned his work duties, and determined his rate of pay.

        17.    Hauptfleisch exercised sufficient control over Kaia’s operations and the

employment of Tuy Xep and other Tipped Workers to be considered their “employer”

under the FLSA and the NYLL.




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                               FACTUAL ALLEGATIONS

       18.    Defendants failed to furnish Tuy Xep with a wage notice when hired or

when his rate of pay changed.

       19.    Defendants failed to furnish Tuy Xep with accurate wage statements with

each payment of his wages throughout his employment.

       20.    Defendants have a history of unlawful wage practices. For example, on

January 22, 2019, Defendants had a judgment entered against them in the sum of

$22,114.30 in favor of an employee of Kaia Wine Bar for unpaid wages and other damages

in a case titled The Commissioner of Labor of the State of New York v. Suzaan Hauptfleisch, et

al, New York County Index No. 450066/2019.

Dishwasher Position

       21.    From April 2019 through June 2019, Defendants employed Tuy Xep as a

dishwasher.

       22.    Defendants paid Tuy Xep $100 per day worked in cash during this period.

       23.    While employed as a dishwasher, Tuy Xep worked four- to five-day

workweeks, from 2:00 p.m. to 11:00 p.m. each day, for approximately thirty-six to forty-

five hours per workweek during this period.

Waiter and Bartender Positions

       24.    From July 2019 through the end of his employment, Defendants employed

Tuy Xep as a waiter and bartender.

       25.    During this period, Plaintiff and other Tipped Workers were not paid any

wages by Defendants. Their sole compensation came from client tips.

       26.    Defendants had a “tip pool” system where all gratuities were joined

together, and each bartender and waiter would receive an equal share from the tip pool




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after Defendants and their non-tipped agents took any deductions. These distributions

were documented in daily “tip sheets” at the end of each night.

       27.    For example, on Saturday, September 10, 2022, the Kaia tip sheet indicated

that the tip pool totaled up to $1,939, equal to $181 from cash gratuities and $1,758 in

credit card gratuities. Plaintiff, who appears on the tip sheet as “Fransico,” and five other

Tipped Workers each received $323 from the tip pool, as seen in the image below:




       28.    Defendants would pay part of the tips due to Plaintiff and Tipped Workers

in cash each night and the rest on a later date via Zelle, the digital payment system .

       29.    While employed as a waiter and bartender, Tuy Xep worked five-day

workweeks: 3:00 p.m. to 12:00 a.m. on Thursdays, Sundays, and Mondays; 4:00 p.m. to

1:00 a.m. on Fridays; and 3:00 p.m. to 1:00 a.m. on Saturdays. Additionally, Kaia Wine

Bar would host special events on Saturdays once a month, for which Tuy Xep would be

required to work until 3:00 a.m. As a result, he worked approximately forty-six to forty-

eight hours per workweek throughout this period.




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                         COLLECTIVE ACTION ALLEGATIONS

       30.      Plaintiff brings this action on behalf of himself and all similarly situated

persons who have worked as waiters and bartenders for Defendants within the three

years prior to the filing of this Complaint and who elect to opt-in to this action (the “FLSA

Collective”).

       31.      The FLSA Collective consists of over fifteen Tipped Workers who have been

victims of Defendants’ common policy and practices that have violated their rights under

the FLSA by, inter alia, willfully denying them minimum and overtime wages.

       32.      Throughout Plaintiff’s employment, Plaintiff and the FLSA Collective have

had work schedules consisting of over forty hours per workweek, have performed similar

service-based duties, and have been subjected to Defendants’ common pay policies

depriving them of minimum and overtime wages.

       33.      Defendants are aware or should have been aware that the FLSA required

them to pay Tipped Workers minimum and overtime wages per workweek.

       34.      Defendants’ unlawful conduct has been intentional, willful, and in bad faith

and has caused significant monetary damage to Plaintiff and the FLSA Collective.

       35.      The FLSA Collective would benefit from the issuance of a court-supervised

notice of the present lawsuit and the opportunity to join the present lawsuit. All similarly

situated Tipped Workers can be readily identified and located through Defendants’

records. The similarly situated Tipped Workers should be notified of and allowed to opt-

in to this action pursuant to 29 U.S.C. § 216(b).

                                     FIRST CLAIM
                            (FLSA – Unpaid Minimum Wages)

       36.      Plaintiff repeats and incorporates all foregoing paragraphs by reference.




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       37.    The FLSA requires that employers pay employees a minimum wage for all

hours worked weekly up to forty.

       38.    Defendants are employers within the meaning of 29 U.S.C. §§ 203(d) and

206(a) and employed Plaintiff and the FLSA Collective.

       39.    The minimum wage provisions set forth in the FLSA, 29 U.S.C. § 201 et seq.,

and its supporting federal regulations apply to Defendants.

       40.    Defendants failed to pay Plaintiff and the FLSA Collective the minimum

wages to which they were entitled under the FLSA.

       41.    Defendants were aware or should have been aware that the practices

described in this Complaint were unlawful and have not made a good faith effort to

comply with the FLSA with respect to Plaintiff and the FLSA Collective’s compensation.

       42.    As a result of Defendants’ willful violations of the FLSA, Plaintiff and the

FLSA Collective suffered damages by being denied minimum wages in accordance with

the FLSA in amounts to be determined at trial, and they are entitled to recovery of such

amounts, liquidated damages, pre- and post-judgment interest, attorneys’ fees and costs

of this action, and other compensation pursuant to 29 U.S.C. § 216(b).

                                  SECOND CLAIM
                           (NYLL – Unpaid Minimum Wages)

       43.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       44.    The NYLL and its supporting New York State Department of Labor

(“NYDOL”) regulations require employers to pay employees at least the minimum wage

rate for the first forty hours worked in a workweek. See N.Y. Lab. Law § 652; 12

N.Y.C.R.R. § 146–1.2(a)(1)(i).

       45.    Defendants are employers within the meaning of the NYLL §§ 190, 651(6),

and 652, and NYDOL regulations, including but not limited to 12 NYCRR Part 146.



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          46.   Defendants employed Plaintiff within the meaning of the NYLL.

          47.   As a result of Defendants’ wage payment practices, they failed to pay

Plaintiff the minimum wages to which he was entitled under the NYLL and its

supporting NYDOL regulations.

          48.   Defendants willfully violated the NYLL by knowingly and intentionally

failing to pay Plaintiff minimum wages.

          49.   As a result of Defendants’ willful violations of the NYLL, Plaintiff suffered

damages and is entitled to recover his unpaid minimum wages, liquidated damages, pre-

and post-judgment interest, and reasonable attorney’s fees and costs.

                                     THIRD CLAIM
                             (FLSA – Unpaid Overtime Wages)

          50.   Plaintiff repeats and incorporates all foregoing paragraphs by reference.

          51.   Defendants are employers within the meaning of 29 U.S.C. §§ 203(d) and

207(a) and employed Plaintiff and the FLSA Collective.

          52.   Defendants were required to pay Plaintiff and the FLSA Collective one and

one-half (1½) times their regular hourly wage rate for all hours worked over forty per

workweek pursuant to the overtime wage provisions set forth in the FLSA, 29 U.S.C. § 207

et seq.

          53.   Defendants failed to pay Plaintiff and the FLSA Collective the overtime

wages to which they were entitled under the FLSA.

          54.   Defendants willfully violated the FLSA by knowingly and intentionally

failing to pay Plaintiff and the FLSA Collective overtime wages.

          55.   As a result of Defendants’ willful violations of the FLSA, Plaintiff and the

FLSA Collective are entitled to recover their unpaid overtime wages, liquidated damages,

pre- and post-judgment interest, and reasonable attorneys’ fees and costs.



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                                  FOURTH CLAIM
                           (NYLL – Unpaid Overtime Wages)

       56.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       57.    Defendants are employers within the meaning of the NYLL §§ 190, 651(6),

and supporting NYDOL regulations, including but not limited to 12 N.Y.C.R.R. Part 146,

and employed Plaintiff.

       58.    Under the NYLL and supporting NYDOL regulations, Defendants were

required to pay Plaintiff one and one-half (1½) times his regular hourly wage rate for all

hours worked over forty per workweek.

       59.    Defendants failed to pay Plaintiff the overtime wages to which he was

entitled under the NYLL.

       60.    Defendants willfully violated the NYLL by knowingly and intentionally

failing to pay Plaintiff overtime wages.

       61.    As a result of Defendants’ willful violations of the NYLL, Plaintiff is entitled

to recover his unpaid overtime wages, liquidated damages, pre- and post-judgment

interest, and reasonable attorneys’ fees and costs.

                                    FIFTH CLAIM
                             (NYLL – Spread-of-Hours Pay)

       62.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       63.    Defendants willfully failed to pay Plaintiff additional compensation of one

hour’s pay at the basic minimum hourly wage rate for each day during which he worked

shifts spanning over ten hours, in violation of the NYLL and its supporting NYDOL

regulations, including 12 NYCRR § 146–1.6.




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       64.    As a result of Defendants’ willful violations of the NYLL, Plaintiff is entitled

to recover his unpaid spread-of-hours pay, liquidated damages, pre- and post-judgment

interest, and reasonable attorneys’ fees and costs of the action.

                                   SIXTH CLAIM
                (WTPA – Failure to Provide Accurate Wage Statements)

       65.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       66.    The NYLL and the WTPA require employers to provide employees with an

accurate wage statement each time they are paid.

       67.    Defendants failed to furnish Plaintiff, with each wage payment, with a

statement accurately listing: rate or rates of pay and basis thereof, whether paid by the

hour, shift, day, week, salary, piece, commission, or other; the regular hourly rate or rates

of pay; the overtime rate or rates of pay; the number of regular hours worked, and the

number of overtime hours worked; gross wages; deductions; allowances, if any, claimed

as part of the minimum wage; and net wages; in violation of NYLL § 195(3).

       68.    Due to Defendants’ violation of NYLL § 195(3), Plaintiff is entitled to

recover from Defendants statutory damages and reasonable attorneys’ fees and costs of

the action, pursuant to NYLL § 198(1–d).

                                 SEVENTH CLAIM
                       (WTPA – Failure to Provide Wage Notices)

       69.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       70.    The NYLL and WTPA require employers to provide all employees with a

written notice of wage rates at the time of hire and whenever there is a change to an

employee’s rate of pay.

       71.    In violation of NYLL § 195(1), Defendants failed to furnish Plaintiff at the

time of hiring, or whenever his rate(s) of pay changed, with a wage notice containing the

rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary,


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piece, commission, or other; allowances, if any, claimed as part of the minimum wage,

including tip, meal, or lodging allowances; the regular pay day designated by the

employer in accordance with NYLL § 191; the name of the employer; any “doing business

as” names used by the employer; the physical address of the employer’s main office or

principal place of business, and a mailing address if different; the telephone number of

the employer, and anything otherwise required by law.

       72.    Due to Defendants’ violation of NYLL § 195(1), Plaintiff is entitled to

recover from Defendants statutory damages and his reasonable attorneys’ fees and costs

incurred in this action pursuant to the NYLL § 198(1–b).

                                 PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment:

             a.      designating this action as a collective action on behalf of the FLSA

Collective and authorizing the prompt issuance of a notice pursuant to 29 U.S.C. § 216(b)

to all similarly situated members of the FLSA opt-in class, apprising them of the

pendency of this action and permitting them to assert timely claims in this action by filing

individual Consent to Sue forms pursuant to 29 U.S.C. § 216(b);

             b.      declaring that Defendants violated the minimum wage provisions of

the FLSA, the NYLL, and NYDOL regulations;

             c.      declaring that Defendants violated the overtime wage provisions of

the FLSA, the NYLL, and the NYDOL regulations;

             d.      declaring that Defendants violated the spread-of-hours pay

provisions of the NYLL and supporting regulations;

             e.      declaring that Defendants violated the notice and record-keeping

provisions of the NYLL and WTPA;




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                f.   declaring that Defendants’ violations of the FLSA and the NYLL

were willful;

                g.   awarding Plaintiff and the FLSA Collective damages for unpaid

minimum and overtime wages under the FLSA;

                h.   awarding Plaintiff damages for unpaid minimum wages, overtime

wages, and spread-of-hours pay under the NYLL;

                i.   awarding Plaintiff and the FLSA Collective liquidated damages

pursuant to the FLSA and NYLL;

                j.   awarding Plaintiff statutory damages as a result of Defendants’

failure to furnish him with a notice at the time of hiring, in violation of the WTPA;

                k.   awarding Plaintiff statutory damages as a result of Defendants’

failure to furnish Plaintiff with accurate wage statements pursuant to the WTPA;

                l.   awarding Plaintiff and the FLSA Collective pre- and post-judgment

interest under the FLSA and the NYLL;

                m.   awarding Plaintiff and the FLSA Collective reasonable attorneys’

fees and costs pursuant to the FLSA and the NYLL; and

                n.   awarding such other and further relief as the Court deems just and

proper.




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